Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 1 of 14




                                             21cr10228
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 2 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 3 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 4 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 5 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 6 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 7 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 8 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 9 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 10 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 11 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 12 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 13 of 14
Case 1:21-cr-10228-FDS Document 9 Filed 07/27/21 Page 14 of 14




                    27



                                  Thomas F. Quinn 7/27/21 @ 3:40pm
